    Case 20-11157         Doc 76      Filed 07/20/20 Entered 07/20/20 15:09:16                     Desc Main
                                        Document     Page 1 of 5



                    UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MASSACHUSETTS
                               (Eastern Division)
__________________________________________
                                           )
In re:                                     )
                                           )      Chapter 7
LEGACY GLOBAL SPORTS, L.P., et al.1        )      Case No. 20-11157-JEB
                  Debtor.                  )      Jointly Administered
__________________________________________)

            STATEMENT OF NO OPPOSITION BY CHAPTER 7 TRUSTEE TO
           AMENDED MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        Harold B. Murphy, chapter 7 trustee (the “Trustee”) of Legacy Global Sports, L.P.

(“LGS”), LGS Management LLC, LGS Manufacturing, LLC, Legacy Global Lacrosse LLC,

LGS Logistics LLC, LGS Team Sales LLC, Premier Sports Events LLC, Massachusetts Premier

Soccer LLC d/b/a Global Premier Soccer, Maine Premier Soccer LLC, Mass Premier Soccer in

New Hampshire, LLC, Florida Premier Soccer LLC, New York Premier Soccer LLC, Jersey

Premier Soccer LLC, GPS in Vermont LLC, Rhode Island Premier Soccer LLC, Carolina

Premier Soccer LLC, Georgia Premier Soccer LLC, Global Premier Soccer Puerto Rico LLC,

Global Premier Soccer Canada LLC, Global Premier Soccer Oregon, Global Premier Soccer

California LLC, Global Premier Soccer Missouri LLC, Global Premier Soccer Connecticut,

Global Premier Soccer Delaware, Global Premier Soccer Michigan LLC, Global Premier Soccer

Minnesota LLC, and Global Premier Soccer Ohio LLC (collectively, the “Debtors”) hereby


1
  The affiliated debtors, along with the last four digits of each debtor’s federal tax identification number, are as
follows: (i) Legacy Global Sports, L.P., EIN #2834; (ii) LGS Management, LLC, EIN # 5401; (iii) LGS
Manufacturing LLC, EIN #5305; (iv) Legacy Global Lacrosse LLC, EIN # 0161; (v) LGS Logistics LLC, EIN
#6244; (vi) LGS Team Sales LLC, EIN # 6484; (vii) Premier Sports Events LLC, EIN #5407; (viii) Massachusetts
Premier Soccer LLC d/b/a Global Premier Soccer, EIN #6290; (ix) Maine Premier Soccer LLC, EIN #0740; (x)
Mass Premier Soccer in New Hampshire, LLC, EIN #2958; (xi) Florida Premier Soccer LLC, EIN # 0702; (xii) New
York Premier Soccer LLC, EIN #1104; (xiii) Jersey Premier Soccer LLC, EIN #0501; (xiv) GPS in Vermont LLC,
EIN #3359; (xv) Rhode Island Premier Soccer LLC, EIN #2841; (xvi) Carolina Premier Soccer LLC, EIN #4047;
(xvii) Georgia Premier Soccer LLC, EIN # 1982; (xviii) Global Premier Soccer Puerto Rico LLC, EIN #1857; (xix)
Global Premier Soccer Canada LLC, EIN # 6291; (xx) Global Premier Soccer Oregon, EIN #8242; (xxi) Global
Premier Soccer California LLC, EIN #7811; (xxii) Global Premier Soccer Missouri, LLC, EIN #2782; (xxiii) Global
Premier Soccer Connecticut, EIN # 6400; (xxiv) Global Premier Soccer Delaware, EIN # 4703; (xxv) Global
Premier Soccer Michigan LLC, EIN #0533; (xxvi) Global Premier Soccer Minnesota LLC, EIN #5588; and (xxvii)
Global Premier Soccer Ohio LLC, EIN #0022.
  Case 20-11157        Doc 76   Filed 07/20/20 Entered 07/20/20 15:09:16         Desc Main
                                  Document     Page 2 of 5



states that he has no opposition to the Amended Motion For Relief From the Automatic Stay (the

“Amended Motion For Relief”) [Docket No. 72] filed by Cab West LLC.



                                           HAROLD B. MURPHY
                                           CHAPTER 7 TRUSTEE OF THE ESTATE OF
                                           LEGACY GLOBAL SPORTS L.P.

                                           By his counsel,


                                            /s/ Andrew G. Lizotte
                                           Andrew G. Lizotte (BBO #559609)
                                           MURPHY & KING, Professional Corporation
                                           One Beacon Street
                                           Boston, Massachusetts 02108-3107
                                           Tel: (617) 423-0400
                                           Fax: (617) 556-8985
                                           Email: ALizotte@murphyking.com

Dated: July 20, 2020

782919




                                              -2-
    Case 20-11157       Doc 76       Filed 07/20/20 Entered 07/20/20 15:09:16                  Desc Main
                                       Document     Page 3 of 5



                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)


                                                             )
In re:                                                       )
                                                             )        Chapter 7
LEGACY GLOBAL SPORTS, L.P., et                  al.1         )        Case No. 20-11157-JEB
                                                             )        Jointly Administered
                                                             )
                         Debtor.                             )
                                                             )

                                    CERTIFICATE OF SERVICE

         I, Andrew G. Lizotte, hereby certify that on July 20, 2020, I caused a copy of the Chapter

7 Trustee’s Statement of No Opposition to Amended Motion for Relief from Stay to be served by

this Court’s CM/ECF System and/or by first class mail, postage prepaid, on the persons and

entities listed on the attached service list.

                                                    /s/ Andrew G. Lizotte
                                                   Andrew G. Lizotte (BBO #559609)
                                                   MURPHY & KING, Professional Corporation
                                                   One Beacon Street
                                                   Boston, Massachusetts 02108-3107
                                                   Tel: (617) 423-0400
                                                   Fax: (617) 556-8985
                                                   Email: ALizotte@murphyking.com

Dated: July 20, 2020


1
  The affiliated debtors, along with the last four digits of each debtor’s federal tax
identification number, are as follows: (i) Legacy Global Sports, L.P., EIN #2834; (ii) LGS Management, LLC, EIN
# 5401; (iii) LGS Manufacturing LLC, EIN #5305; (iv) Legacy Global Lacrosse LLC, EIN # 0161; (v) LGS
Logistics LLC, EIN #6244; (vi) LGS Team Sales LLC, EIN # 6484; (vii) Premier Sports Events LLC, EIN #5407;
(viii) Massachusetts Premier Soccer LLC d/b/a Global Premier Soccer, EIN #6290; (ix) Maine Premier Soccer LLC,
EIN #0740; (x) Mass Premier Soccer in New Hampshire, LLC, EIN #2958; (xi) Florida Premier Soccer LLC, EIN #
0702; (xii) New York Premier Soccer LLC, EIN #1104; (xiii) Jersey Premier Soccer LLC, EIN #0501; (xiv) GPS in
Vermont LLC, EIN #3359; (xv) Rhode Island Premier Soccer LLC, EIN #2841; (xvi) Carolina Premier Soccer
LLC, EIN #4047; (xvii) Georgia Premier Soccer LLC, EIN # 1982; (xviii) Global Premier Soccer Puerto Rico LLC,
EIN #1857; (xix) Global Premier Soccer Canada LLC, EIN # 6291; (xx) Global Premier Soccer Oregon, EIN #8242;
(xxi) Global Premier Soccer California LLC, EIN #7811; (xxii) Global Premier Soccer Missouri, LLC, EIN #2782;
(xxiii) Global Premier Soccer Connecticut, EIN # 6400; (xxiv) Global Premier Soccer Delaware, EIN # 4703; (xxv)
Global Premier Soccer Michigan LLC, EIN #0533; (xxvi) Global Premier Soccer Minnesota LLC, EIN #5588; and
(xxvii) Global Premier Soccer Ohio LLC, EIN #0022.
                                                       -3-
 Case 20-11157         Doc 76        Filed 07/20/20 Entered 07/20/20 15:09:16      Desc Main
                                       Document     Page 4 of 5




LEGACY GLOBAL SPORTS, L.P.
Case No. 20-11157-JEB
SERVICE LIST

BY CM/ECF:

     Christopher J Battaglia lgu@halperinlaw.net
     Joseph S.U. Bodoff jbodoff@rubinrudman.com
     Paul W. Carey pcarey@mirickoconnell.com, bankrupt@mirickoconnell.com
     Daniel C. Cohn dcohn@murthalaw.com, lmulvehill@murthalaw.com
     John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
     Jonathan Horne jhorne@murthalaw.com, lmulvehill@murthalaw.com
     Harold B. Murphy mxc@hanify.com ma33@ecfcbis.com;
      dkonusevska@murphyking.com

BY FIRST CLASS MAIL:

  Lama Chebaclo                                                 Melanee Chmiel
  4511 Moorland Ave                                             11494 Balsam Way
  Edina, MN 55424                                               Woodbury, MN 55129



  Paula K. Jacobi                                               Jason Murphy
  Barnes & Thornburg LLP                                        85 Candia Road
  One North Wacker Drive                                        Manchester, NH 03109
  Suite 4400
  Chicago, IL 60606

  The Siegfried Group, LLP                                      The Siegfried Group, LLP
  Leigh-Ann Raport, Senior Counsel                              c/o Richard G. Placey
  1201 N. Market Street, Ste 700                                Montgomery, McCracken, Walker & Rhoads,
  Wilmington, DE 19801                                          1105 N. Market Street, Suite 1500
                                                                Wilmington, DE 19801

  The Siegfried Group, LLP                                      Hartford Insurance Company
  c/o William J. Ulrich                                         PO Box 660916
  Vice President, Legal & HR                                    Dallas, TX 75266
  1201 N. Market Street, Suite 700
  Wilmington, DE 19801

  Robert Half Finance & Accounting                              Acton-Boxborough Regional School District
  PO Box 743295                                                 16 Charter Road
  Los Angeles, CA 90074-3295                                    Acton, MA 01720




                                                 -4-
Case 20-11157       Doc 76      Filed 07/20/20 Entered 07/20/20 15:09:16      Desc Main
                                  Document     Page 5 of 5


Wheaton College Department of Athletics                    Law Offices of Nair & Levin
26 East Main Street                                        c/o Mitchell J. Levine
Norton, MA 02766                                           707 Bloomfield Avenue
                                                           Bloomfield, CT 638576




                                            -5-
